                         Case 8:18-bk-01573-RCT            Doc 26      Filed 05/22/18      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                05/22/2018 11:00 AM

                                                                COURTROOM 9B

HONORABLE ROBERTA COLTON
CASE NUMBER:                                                    FILING DATE:

8:18-bk-01573-RCT                        7                        02/28/2018

Chapter 7

DEBTOR:                George Domning

                       Joan Domning

DEBTOR ATTY:           Christopher Ikerd

TRUSTEE:               Dawn Carapella

HEARING:

Motion for Relief from Stay Re: 1334 Autumn Breeze. Contains negative notice. In Rem Filed by Jeffrey S Fraser on behalf of
                        Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper (Doc #17)
- Trustee's Objection to Motion for Relief from the Automatic Stay (Doc #19)
.

APPEARANCES:: RICHARD DAUVAL, SCOTT LEWIS.


RULING:
Motion for Relief from Stay Re: 1334 Autumn Breeze. Contains negative notice. In Rem Filed by Jeffrey S Fraser on behalf of
Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper (Doc #17) - AGREED ORDER BY LEWIS.

- Trustee's Objection to Motion for Relief from the Automatic Stay (Doc #19)
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 8:18-bk-01573-RCT                     Chapter 7
